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                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                                Chapter 11

AMERIFIRST FINANCIAL, INC., et al.,                                   Case No. 23-11240 (TMH)

                                   Debtors.1                          (Jointly Administered)
                                                                                       474
                                                                      Ref. Docket No. ____

                              ORDER EXTENDING DEADLINE
                      WITHIN WHICH DEBTORS MAY REMOVE ACTIONS

                   Upon the motion (the “Motion”)2 of the above-captioned debtors and debtors in

possession (the “Debtors”) for entry of an order (this “Order”): (a) extending the Removal

Deadline for filing notices of removal of Actions through and including March 1, 2024, without

prejudice to the Debtors’ right to seek further extensions; and (b) granting related relief, all as more

fully set forth in the Motion; and the United States District Court for the District of Delaware

having jurisdiction over this matter pursuant to 28 U.S.C. § 1334, which was referred to this Court

under 28 U.S.C. § 157 pursuant to the Amended Standing Order of Reference from the United

States District Court for the District of Delaware, dated February 29, 2012; and the Court having

found that this is a core proceeding pursuant to 28 U.S.C. § 157(b)(2), and that the Court may enter

a final order consistent with Article III of the United States Constitution; and the Court having

found that venue of this proceeding and the Motion in this district is proper pursuant to 28 U.S.C.

§§ 1408 and 1409; and the Court having found that the Debtors’ notice of the Motion and

opportunity for a hearing on the Motion were appropriate under the circumstances and no other


1
    The Debtors, along with the last four (4) digits of each Debtor’s federal tax identification number are:
    Phoenix 1040 LLC (2550); and AmeriFirst Financial, Inc. (4557). The Debtors’ service address is 575 W.
    Chandler Boulevard, Suite 225, Unit 236, Chandler, AZ 85225.
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    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Motion.



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notice need be provided; and the Court having determined that the legal and factual bases set forth

in the Motion establish just cause for the relief granted herein; and upon all of the proceedings had

before the Court; and after due deliberation and sufficient cause appearing therefor;


                   IT IS HEREBY ORDERED THAT:

                   1.           The Motion is GRANTED as set forth herein.

                   2.           The Removal Deadline is extended through and including March 1, 2024.

                   3.           This Order shall be without prejudice to the Debtors’ right to request further

extensions of the Removal Deadline.

                   4.           All time periods set forth in this Order shall be calculated in accordance

with Bankruptcy Rule 9006(a).

                   5.           Notice of the Motion as provided therein shall be deemed good and

sufficient notice of such Motion, and the requirements of Bankruptcy Rule 6004(a) and the Local

Rules are satisfied by such notice.

                   6.           The Debtors are authorized to take all actions necessary to effectuate the

relief granted in this Order in accordance with the Motion.

                   7.           This Court retains exclusive jurisdiction with respect to all matters arising

from or related to the implementation, interpretation, and enforcement of this Order.




       Dated: December 14th, 2023                          THOMAS M. HORAN
       Wilmington, Delaware                                UNITED STATES BANKRUPTCY JUDGE




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